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   Deep-Seated Issues in the Troubled Teen
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        Trails Carolina students sit in a circle
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       students.jpeg#1440x1096)
       Trails therapist, Amanda Mojave, and
       Trails Carolina student.




       A Trails Carolina student and her
       parents sit on the ground outside
       and work on an emotional process
       and communication activity using
       flash cards.




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       Accredited academic classroom at
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       outcomes-graph.png#1592x796)
       Percent of Children and Adolescents
       Experiencing Mental Health
       Challenges and Stress Overtime
       After Graduating from Trails Carolina


  Trails Carolina thinks program leaders should have a seat at the table.

  LAKE TOXAWAY, NORTH CAROLINA, UNITED STATES, August 3, 2023/EINPresswire.com
  (http://www.einpresswire.com/)/ -- An Industry Under Fire


  The troubled teen industry has long been a controversial and concerning topic, particularly
  seeking help for their children.


  Encompassing a wide array of residential programs claiming to support struggling teenag
  substance abuse issues, behavioral problems, and mental health concerns, the troubled te
  an umbrella term that includes facilities and programs such as youth residential treatment
  wilderness therapy programs, boot camps, and therapeutic boarding schools.


  The troubled teen industry purports to offer interventions and behavioral modifications in
  assist distressed children in their challenges, but many programs throughout the United S
  manipulated the good faith of parents wishing to help their kids and often have ended up
  trauma than therapy.


  A closer look reveals
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  harm to vulnerable young individuals.
  While the history of the troubled teen industry reveals something that is far from a reassur
                                                                (/)
  for struggling teens, it's high time we discuss it openly.


  Like any stain on humanity's history, it is crucial to investigate the beginnings of the troubl
  industry to raise awareness of its flaws and dangers, enabling us to collectively work towar
  implementing necessary improvements and reforms for the well-being of vulnerable child
  teenagers.


  By shining a light on these issues, we can begin to understand what separates accredited
  programs from the troubled teen boot camps of the past.



  A Dark History


  Understanding the current climate of the troubled teen industry requires a deep investiga
  problematic and often terrible history.
  The origins of the troubled teen industry go back to the early 20th century with the establi
  behavior modification programs for troubled teens, also called at-risk youth or juvenile del


  These programs aimed to instill discipline and compliance through strict practices that oft
  harm than good.


                                                                      In the 1950s and 1960s, the concept of "therapeutic c
        Trails Carolina and other                                     emerged, focusing on group therapy and counseling
        program leaders should be                                     short-lived.
        key stakeholders in federal
        and state decision-making,                                    During the 1970s, a shift occurred towards more pun
        engaging with parents and                                     and unregulated facilities, leading to widespread rep
        legislators to make                                           and neglect. The 1990s saw a surge in private residen

        substantial improvements in marketed as therapeutic, but again, numerous alleg
                                                                      mistreatment emerged.
        the industry.”
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        — Graham Shannonhouse,                                        troubled teen industry. When these behavior modifi
        Founder of Trails Carolina                                    programs and boot camps started, there was an uns
                                                                (/)
                                                                      absence of national regulations or standards to guid
                                                                      facilities' operations. The lack of federal and state law
  them to operate virtually unchecked, leading to inconsistencies in the quality of care and t


  Then several years later, in 2008, the U.S. Government Accountability Office (GAO) publishe
  titled "Residential Programs: Selected Cases of Death, Abuse, and Deceptive Marketing," w
  numerous allegations of abuse within residential programs across the U.S. and American-o
  facilities overseas. In 1996, years before this report, the Outdoor Behavioral Healthcare Coun
  founded by representatives from a handful of wilderness therapy programs who believed i
  collaboration and the creation of best practices. During that same time period, the same p
  successfully working with their State’s legislatures to create regulations and licensing to he
  programs that were not following ethical and clinical practices.


  Another troubling concern was the misleading marketing tactics employed by some facilit
  sector. The boot camp brochures and curated testimonials rarely revealed the brutal realiti
  inefficiencies that scarred children for the rest of their lives.



  Trails Carolina Is Different


  In theory, the troubled teen industry should represent a beacon of hope for families naviga
  stormy seas of child and teen difficulties. Unfortunately, the industry has been defined by i
  that includes a disconcerting pattern of exploitation, lack of oversight, and questionable tr
  practices, leaving programs that, in reality, are quite far from this troubled history, such as T
  left in the shadows, and families who are in great need of help for their child left without h


  Trails Carolina, situated in Lake Toxaway, North Carolina, is a dual-diagnosis wilderness the
  that prioritizes youth behavioral and mental health treatment. Due to the changes that hav
  over the years, we must assess this program independently, detached from the negative re
  dark history of the troubled teen industry.
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  and a commitment to the mental health of struggling adolescents, unlike the harmful, unr
  programs of the past.
                                                                (/)



  On Withholding Information and Outcomes


  Programs used to purposely withhold information from parents about their children’s well
  progress. Trails Carolina, however, maintains communication, providing a comprehensive v
  process.


  Trails Carolina began a research study in 2014 to assess the impact of their work with youth
  The study is facilitated by the Center for Research, Assessment, and Treatment Efficacy and
  of Arkansas. The study utilized comprehensive assessments, measuring mental health sym
  family functioning, and treatment results. Pre- and post-treatment assessments were cond
  follow-up surveys at 3 and 12 months after program completion. Over 1,200 families have p
  with the participants' demographics being boys and girls with an average age of 14, primar
  significant prior mental health service experiences.


  One year after graduating from Trails Carolina, 98.9% of participants (https://trailscarolina.c
  wilderness-therapy-work/) still reported a continued decrease in challenging behavior and
  symptoms.


  The Trails Carolina admissions team is available by phone to speak with concerned parents
  program.



  On the Punitive Approach of Boot Camps


  Another concern about the history of the troubled teen industry involves the punitive appr
  discipline frequently employed by boot camps and "Scared Straight" facilities. These discip
  approaches have repeatedly shown to be detrimental to the emotional and psychological w
  teens.
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  Carolina wilderness therapy program adopts a therapeutic approach. Trails Carolina’s outco
  shows that their program leads to a reduction in reported symptoms of inappropriate beha
                                                                (/)
  and depression among their students, with effects reported to persist for up to a year after
  the program.


  After leaving Trails Carolina, around 60% of students showed typical moods, compared to o
  treatment (https://trailscarolina.com/does-wilderness-therapy-work/), and this percentage
  rise in subsequent assessments.



  On Lack of Qualifications


  In addition to the dangerous lack of transparency and regulations of past troubled teen pro
  as their use of harmful punitive measures, many of these facilities, particularly prior to the
  state licensures, lacked qualified mental health professionals.


  Today, state licensure requires wilderness therapy programs, including Trails Carolina, to op
  full team of licensed therapists and experienced and trained wilderness instructors.



  On Profit and Private Pay


  Organizations claiming to want to improve the troubled teen industry spout misinformatio
  current programs, such as the generalized, unfounded assertion that all troubled teen prog
  money-driven, keeping kids in the system to produce a profit.


  Unfortunately, despite the clear effectiveness of outdoor behavioral health treatment over
  therapy, wilderness therapy programs such as Trails Carolina continue to be private pay, wi
  companies failing to support families seeking better treatment options. Because of this, th
  industry appears profit-driven, neglecting the well-being of those they serve in order to ma


  However, Trails Carolina, along with other present-day wilderness therapy programs, priorit
  and family
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  After Trails graduation, only 43% of children and adolescents transitioned (https://trailscaro
                                                                (/)
  wilderness-therapy-work/) to other residential programs, such as a therapeutic boarding sc
  residential treatment center (RTC), showing greater depression and anxiety symptoms (44
  to those returning home (22.4%). This persisted during follow-up assessments, with therape
  school or residential treatment students having higher overall mental health problems (26
  to students who returned home after Trails (15.8%).


  This evidence indicates that regardless of whether the children and adolescents transition
  residential treatment program or return home after completing the Trails program, they st
  considerable improvements in their mental health and problematic behaviors for a full yea


  If the goal of the troubled teen industry were solely profit-driven, they might encourage re
  enrollments or long-term stays in residential programs to maximize revenue. However, the
  positive outcomes persist beyond the program completion suggests that the focus is on th
  and successful recovery of the individuals rather than keeping them in the system for finan



  Moving Forward


  There is a desperate need for reform in this industry. A collective effort from accrediting org
  legislative stakeholders, parents, concerned citizens, and wilderness therapy program lead
  required to hold these facilities accountable, establish a robust regulatory framework, and
  facility' primary focus is on the teens' mental, emotional, and physical well-being.


  Founder of Trails Carolina, Graham Shannonhouse, states, “As program leaders, our goal is
  at the table. We believe Trails Carolina, along with other wilderness therapy program leade
  key stakeholders in federal and state decision making, engaging with parents, concerned c
  government legislators, and accreditation organizations to make substantial improvement
  industry for the kids and their families.”


  Trails Carolina’s aim is to provide valuable context and collaborate with all stakeholders to c
  work towards
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  Trails Carolina sets an example of a troubled teen program dedicated to teens' mental, emo
  physical health.
                                                                (/)

  Already implementing these principles, Trails Carolina is licensed by the State of North Car
  accredited by CARF and the Association of Experiential Education’s Outdoor Behavioral He
  designation.


  Upon a thorough Trails Carolina investigation, it is clear that this wilderness therapy progra
  committed to shifting the reality and the narrative of the troubled teen industry's dark hist
  regulated, evidence-based, child abuse free reality.


  As a society, we must remember that troubled teens aren't problems to be solved but indiv
  need our understanding, compassion, and effective guidance.

  Julia Andrick
  Trails Carolina
  jandrick@trailscarolina.com (mailto:jandrick@trailscarolina.com)
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  Trails Carolina Wilderness Therapy - "We Reunite Families at Trails"




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                                                                                               10-17 and their families. At Trails
                                                                                               Carolina, the wilderness therapy
                                                                                               program’s mission is to give each
                                                                                               child the confidence, coping
                                                                                               mechanisms, and communication
                                                                                               skills to help them become their
                                                                                               best version. Families restore and
                                                                                               rebuild their relationship with
                                                                                               their children throughout the
                                                                                               wilderness program.
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